39 F.3d 1176
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leonard O. DOUGLAS, Plaintiff Appellant,v.Doctor PATTERSON;  Doctor Rojcewicz;  Doctor Montalalarno;Doctor Broadwater;  Rn Shirley;  Doctor Shalh;  RnLori;  Lpn Jordan;  Rn Koons, DefendantsAppellees.
    No. 94-6897.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 18, 1994.Decided Nov. 15, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  J. Frederick Motz, District Judge.  (CA-93-4100-JFM).
      Leonard O. Douglas, Baltimore, MD, for Appellant.  John Joseph Curran, Jr., Attorney General, Baltimore, MD;  Alice Denise Ike, MARYLAND DEPARTMENT OF HEALTH &amp; MENTAL HYGIENE, Baltimore, MD, for Appellees.
      D.Md.
      AFFIRMED.
      Before HALL and MICHAEL, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.*  Douglas v. Patterson, No. CA-93-4100-JFM (D. Md. July 18, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         Douglas's motion for appointment of counsel is hereby denied
      
    
    